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 2                                    CERTIFICATE OF SERVICE

 3           I hereby certify that on the date below, I caused the foregoing document to be

 4   electronically filed with the Clerk of the Court using the CM/ECF system which will send

 5   notification of the filing to all counsel of record.

 6

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 8   DATED: June 21, 2018                            ORRICK, HERRINGTON & SUTCLIFFE LLP

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     DECLARATION OF COREY GARRETT IN
                                                                          ORRICK, HERRINGTON & SUTCLIFFE LLP
     SUPPORT OF PLAINTIFFS’ MOTION FOR                -6-                       701 Fifth Avenue, Suite 5600
     PRELIMINARY INJUNCTION                                                    Seattle, Washington 98104-7097
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